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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

  MEGAN PERKINS, on behalf of herself and
  all others similarly situated,                      Civil Action No.

                             Plaintiff,               CLASS ACTION COMPLAINT
                                                      AND DEMAND FOR JURY
            v.                                        TRIAL

  THE NEW YORK TIMES COMPANY, d/b/a
  THE NEW YORK TIMES,

                              Defendant.




       Plaintiff Megan Perkins (“Plaintiff”) brings this action on behalf of herself and all others

similarly situated against Defendant The New York Times Company, d/b/a The New York Times

(“NYT” or “Defendant”). Plaintiff makes the following allegations pursuant to the investigation

of her counsel and based upon information and belief, except as to the allegations specifically

pertaining to herself, which are based on personal knowledge.

                                   NATURE OF THE ACTION

       1.        This is a putative class action lawsuit against Defendant for engaging in an illegal

“automatic renewal” scheme with respect to its subscription plans for The New York Times

(collectively, the “NYT Subscriptions”) through its website at https://www.nytimes.com and its

mobile application (the “NYT Website” and the “NYT App,” respectively).

       2.        Defendant is an international media company that, among other activities, publishes

and distributes The New York Times, including both its print and online editions. Relevant to

Plaintiff’s allegations, when consumers sign up for The New York Times at the NYT Website or

App, Defendant actually enrolls consumers in a program that automatically renews customers’
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NYT Subscriptions from month-to-month or year-to-year and results in monthly or annual charges

to the consumer’s credit card, debit card, or third party payment account (collectively, “Payment

Method”). In doing so, however, Defendant fails to provide the requisite disclosures and

authorizations required to be made to North Carolina consumers under N.C.G.S. § 75-41.

       3.       Pursuant to N.C.G.S. § 75-41 (the Auto Renewal Statute or “ARS”): any person

engaged in commerce that sells, leases, or offers to sell or lease, any products or services to a

consumer pursuant to a contract, where the contract automatically renews unless the consumer

cancels the contract, shall do all of the following: (1) Disclose the automatic renewal clause clearly

and conspicuously in the contract or contract offer; (2) Disclose clearly and conspicuously how to

cancel the contract in the initial contract, contract offer, or with delivery of products or services;

(3) For any automatic renewal exceeding 60 days, provide written notice to the consumer by

personal delivery, electronic mail, or first-class mail, at least 15 days but no earlier than 45 days

before the date the contract is to be automatically renewed, stating the date on which the contract

is scheduled to automatically renew and notifying the consumer that the contract will automatically

renew unless it is cancelled by the consumer prior to that date; and (4) If the terms of the contract

will change upon the automatic renewal of the contract, disclose the changing terms of the contract

clearly and conspicuously on the notification in at least 12 point type and in bold print.

       4.       Defendant systematically violates the ARS by: failing to present the automatic

renewal offer terms in a clear and conspicuous manner in the contract offer in violation of N.C.G.S.

§ 75-41(1), and failing to disclose clearly and conspicuously how to cancel the contract in the

initial contract, contract offer, or with delivery of products or services, in direct violation of

N.C.G.S. § 75-41(2), and filing to provide written notice for any automatic renewal exceeding 60

days, to the consumer by personal delivery, electronic mail, or first-class mail, at least 15 days but



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no earlier than 45 days before the date the contract is to be automatically renewed, stating the date

on which the contract is scheduled to automatically renew and notifying the consumer that the

contract will automatically renew unless it is cancelled by the consumer prior to that date in

violation of N.C.G.S. § 75-41(3).

          5.       For the foregoing reasons, Plaintiff brings this action individually and on behalf of

all North Carolina purchasers of any of Defendant’s NYT Subscription offerings who, within the

applicable statute of limitations period up to and including the date of judgment in this action,

incurred unauthorized fees for the renewal of their NYT Subscriptions. Based on Defendant’s

unlawful conduct, Plaintiff seeks damages, restitution, declaratory relief, injunctive relief, and

reasonable attorneys’ fees and costs for: (1) violation of N.C.G.S. § 75-41; (2) unfair and deceptive

trade practices; and (3) unjust enrichment.

                                   JURISIDICTION AND VENUE

          6.       The foregoing allegations are hereby reincorporated by reference as if fully restated

herein.

          7.       This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)(2)(A),

as modified by the Class Action Fairness Act of 2005, because at least one member of the Class,

as defined below, is a citizen of a different state than Defendant, there are more than 100 members

of the Class, and the aggregate amount in controversy exceeds $5,000,000 exclusive of interest

and costs.

          8.       This Court has personal jurisdiction over Defendant because many of the acts and

transactions giving rise to this action occurred in this District, and because Defendant is

headquartered in this District.




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          9.       Venue is proper is proper in this Court pursuant to 28 U.S.C. § 1391 because many

of the acts and transactions giving rise to this action occurred in this District, and because

Defendant is a resident of this District.

                                                PARTIES

          10.      The foregoing allegations are hereby reincorporated by reference as if fully restated

herein.

          11.      Plaintiff Megan Perkins is a citizen of Fayetteville, North Carolina, Cumberland

County.

          12.      Defendant The New York Times Company (“NYT” or “Defendant”) is a New York

corporation with its principal place of business at 620 Eighth Avenue, New York, New York

10018, and a registered office in the State of North Carolina. Defendant is an international media

company that publishes The New York Times, including both its print and online editions, which it

markets to consumers through the NYT Website and App. Defendant is also responsible for the

promotion, advertisement, and/or marketing of the automatically renewing subscription plans for

The New York Times, and it owns and operates the NYT Website and App, where it markets and

sells its NYT Subscriptions. Defendant sells NYT Subscriptions in North Carolina and has done

business throughout North Carolina, and throughout the United States, at all times during the Class

Period. Defendant also made automatic renewal or continuous service offers to consumers in

North Carolina, and throughout the United States, via the NYT Website and/or App during the

Class Period.




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                                  FACTUAL ALLEGATIONS

         A.     Background On The Subscription e-Commerce Market

         13.    The e-commerce subscription model is a business model in which retailers provide

ongoing goods or services “in exchange for regular payments from the customer.”1 Given the

prevalence of online and e-commerce retailers, subscription e-commerce has grown rapidly in

popularity in recent years. According to TechCrunch.com, “[s]ubscriptions have turned into a

booming business for app developers, accounting for $10.6 billion in consumer spend on the App

Store in 2017, and are poised to grow to $75.7 billion by 2022.”2 Subscription e-commerce

services now target a wide range of customers and cater to a variety of specific interests.

         14.    Defendant “launched the subscription model in March 2011, becoming one of the

first American news organizations that put its content behind a paywall after allowing unrestricted

access.”3 Since then, Defendant has been “seeing positive results at a time when newspapers

nationwide have been suffering.”4

         15.    The production, sale, and distribution of subscription-based products and services

is a booming industry that has exploded in popularity over the past few years. According to Forbes,

“[t]he subscription e-commerce market has grown by more than 100% percent a year over the past




1
    See https://www.coredna.com/blogs/ecommerce-subscription-services.
2
 Sneaky subscriptions are plaguing the App Store, TechCrunch (Oct. 15, 2018),
https://techcrunch.com/2018/10/15/sneaky-subscriptions-are-plaguing-the-app-store/.
3
 The New York Times increases digital subscription price for the first time, CNN Business (Feb.
4, 2020), https://www.cnn.com/2020/02/04/media/newyorktimes-raises-subscription-
price/index.html.
4
 New York Times Company Continues to Add Online Subscribers as Digital Advertising Grows,
NYTimes (May 8, 2019), https://www.nytimes.com/2019/05/08/business/media/new-york-times-
company-earnings.html.

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five years, with the largest retailers generating more than $2.6B in sales in 2016, up from $57.0M

in 2011.”5

          16.   However, there are downsides associated with the subscription-based business

model. While the subscription e-commerce market has low barriers and is thus easy to enter, it is

considerably more difficult for retailers to dominate the market due to the “highly competitive

prices and broad similarities among the leading players.”6 In particular, retailers struggle with the

fact that “[c]hurn rates are high, [] and consumers quickly cancel services that don’t deliver

superior end-to-end experiences.”7 Yet, retailers have also recognized that, where the recurring

nature of the service, billing practices, or cancellation process is unclear or complicated,

“consumers may lose interest but be too harried to take the extra step of canceling their

membership[s].”8 As these companies have realized, “[t]he real money is in the inertia.”9 To

facilitate consumer inertia, several subscription e-commerce companies, including Defendant, fail

to fully disclose the terms of their automatic-renewal programs.

          17.   Defendant has successfully implemented this tactic. “From 2017 to 2018, revenues

from the Times’ digital-only subscription packages increased 18% year-over-year to $401



5
 The State Of The Subscription Economy, 2018, Forbes (Mar. 4, 2018),
https://www.forbes.com/sites/louiscolumbus/2018/03/04/the-state-of-the-subscription-economy-
2018/#6ad8251a53ef.
6
  Thinking inside the subscription box: New research on e-commerce consumers, McKinsey &
Company (Feb. 2018), https://www.mckinsey.com/industries/technology-media-and-
telecommunications/our-insights/thinking-inside-the-subscription-box-new-research-on-
ecommerce-consumers#0.
7
    Id.
8
 Little-box retailing: Subscription services offer new possibilities to consumers, major outlets,
Washington Post (Apr. 7, 2014),
https://www.washingtonpost.com/business/economy/tktktktk/2014/04/07/f68135b6-a92b-11e3-
8d62-419db477a0e6_story.html.
9
    Id.

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million[.]”10 By the end of 2019, Defendant “passed $800 million in annual digital revenue for

the first time[.] … Most of that $800.8 million — more than $420 million — came from news

subscribers.”11 According to Mark Thompson, NYT’s president and CEO, the fiscal year of 2019

was “‘a record-setting year for [Defendant’s] digital subscription business, the best since the

company launched digital subscriptions [in 2011].’”12

           B.    Online Consumer Complaints About The NYT Subscriptions.

           18.   Defendant’s recent growth in revenues and subscriber count with respect to its

digital NYT Subscriptions coincides with a sharp decline in subscriber satisfaction as the NYT

Website and App have become riddled with “dark patterns.” A dark pattern is “a process design

that requires several complex procedures to do simple things.” One consumer complaint indicates

that Defendant has been “using dark patterns to prevent user unsubscription from [its] site” by

adopting “complex procedures to increase the friction in the subscription cancellation process and

keep the user subscriber.” For instance, although one page of the NYT Website states that

consumers can cancel their NYT Subscription via chat, “[t]he chat facility is only available in-

office hours (07:00 AM-10:00 PM) on weekdays and 07:00 AM-03:00 PM on weekends[, and]

most of the time and days, their chat facility is unavailable due to excessive chat from

customers[.]”13.




10
  The New York Times increases digital subscription price for the first time, CNN Business (Feb.
4, 2020), https://www.cnn.com/2020/02/04/media/newyorktimes-raises-subscription-
price/index.html.
11
  The New York Times Tops 5 Million Subscriptions as Ads Decline (Feb. 6, 2020),
https://www.nytimes.com/2020/02/06/business/new-york-times-earning.html.
12
     Id.
13
  NYT shady unSubscription dark pattern explained & steps to exit (May 1, 2020),
https://thedigitalhacker.com/nyt-found-to-be-using-dark-patterns/.

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          19.    In fact, many subscribers have complained of the unclear billing practices and

confusing cancellation policy associated with the NYT Subscriptions on the Better Business

Bureau website14, Yelp.com15, and the “New York Times Customer Service” webpage at

CustomerServiceScoreboard.com.16

          19.    These reviews are just a sampling of numerous negative reviews consumers have

left about Defendant’s NYT Subscriptions and the unclear cancellations policy and confusing

billing associated with the Subscriptions.

          C.     Defendant’s Business: The Subscription Enrollment Process

          20.    At all relevant times, Defendant offered, via the NYT Website and App, various

NYT Subscriptions for The New York Times, a publication available in digital and print formats.

These paid subscriptions are offered on a recurring basis for monthly and/or yearly renewal terms,

and all plans automatically renew at the end of the defined renewal term unless the subscriber

cancels. For example, customers that sign up for a monthly NYT Subscription are, at the end of

the initial one-month period, automatically renewed and typically charged the full amount for the

next month, and every month thereafter if they do not cancel. Defendant’s NYT Subscriptions

constitute automatic renewal and/or continuous service plans or arrangements for the purposes of

N.C.G.S. § 75-41.




14
  See https://www.bbb.org/us/ny/new-york/profile/publishers-periodical/the-new-york-times-
company-0121-229/complaints.
15
     See https://www.yelp.com/biz/the-new-york-times-san-francisco-2?start=40.
16
     See https://www.customerservicescoreboard.com/New+York+Times.

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       21.     Consumers can sign up for one of Defendant’s subscription plans through the NYT

Website, on either its mobile or desktop format, or Defendant’s mobile application. Defendant

provides monthly and/or yearly subscription plans, as shown in the screen shot below:17




       22.     After selecting a subscription option, consumers are directed to subsequent

webpages on the NYT Website and/or App where they are prompted to create a membership

account and input their billing information. After these steps, consumers are directed to another,

final webpage (the “Checkout Page”), where prospective subscribers are invited to complete their

purchase. On the Checkout Page, there are two distinct areas of the webpage that contain

potentially relevant information regarding the automatic renewal offer terms associated with the
NYT Subscriptions: (1) the block of text located to the right of the screen, immediately below the

bolded and capitalized text that reads “Payment Information”; and (2) the block of text located

immediately above the “Purchase Subscription” button. These blocks of text contain the following

language:




17
  This screen shot was captured from the NYT Website on April 6, 2020. While the prices
contained therein accurately reflect the costs associated with the various NYT Subscriptions as
of that date, exact costs on other dates may vary based on the pricing structure in place on the
date of purchase and the availability of a promotional discount offer at that time, among other
factors.

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         23.   Regardless of how the consumer subscribes (via the NYT Website on its mobile or

desktop format, or through the mobile application) or which NYT Subscription plan the consumer

selects, Defendant fails to disclose the full terms of its auto-renewal program either before or after

checkout, and it never requires the individual to read or affirmatively agree to any terms of service,

i.e., by requiring consumers to click a checkbox next to the automatic renewal offer terms before

consumers complete the checkout process and submit their orders for NYT Subscriptions.

Consequently, Defendant uniformly fails to obtain any form of consent from – or even provide

effective notice to – its subscribers before charging consumers’ Payment Methods on a recurring

basis.

         D.    Defendant Violates North Carolina’s Automatic Renewal Law

         24.   At all relevant times, Defendant failed to comply with the ARS in four ways: (i)

failing to present the automatic renewal offer terms in a clear and conspicuous manner in the

contract offer in violation of N.C.G.S. § 75-41(1), failing to disclose clearly and conspicuously

how to cancel the contract in the initial contract, contract offer, or with delivery of products or

services, in direct violation of N.C.G.S. § 75-41(2), failing to provide written notice for any

automatic renewal exceeding 60 days, by personal delivery, electronic mail, or first-class mail, at

least 15 days but no earlier than 45 days before the date the contract is to be automatically renewed,

stating the date on which the contract is scheduled to automatically renew and notifying the

consumer that the contract will automatically renew unless it is cancelled by the consumer prior to

that date as required by N.C.G.S. § 75-41(3).; and failing to clearly and conspicuously disclose the

changing terms of the contract as required by N.C.G.S. § 75-41(4).




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                  i.   Defendant does not present automatic renewal terms in
                       a clear and conspicuous manner.

       25.     First, the relevant portion of the Checkout Page does not present the complete

“automatic renewal offer terms[,]” that is described in N.C.G.S. § 75-41(1). Specifically, although

the Checkout Page states that the customer’s “subscription will continue until [the customer]

cancel[s,]” it nevertheless fails to comply with the ARS because it is placed in the block of text

positioned near the top right of the webpage, while the “Purchase Subscription” button appears

towards to bottom left of the webpage. Moreover, it is presented in the same size, color, and font

as that of the surrounding block of text, and it is placed alongside other, unrelated disclosures

without distinction from the surrounding text of the same size in any manner that calls attention to

the language. In other words, the disclosure was presented in such a way that it could be, and was,

easily overlooked, and is therefore not “clear and conspicuous” as required by N.C.G.S. § 75-

41(1). Given such inconspicuousness, Defendant fails to disclose “[t]hat the subscription or

purchasing agreement will continue until the consumer cancels” in the manner required by statute.

                 ii.   Defendant does not disclose clearly and conspicuously
                       how to cancel the contract in the initial contract,
                       contract offer, or with delivery of products or services.

       26.     With respect to cancellation, the relevant portion of the Checkout Page states: “You

may cancel at any time. The cancellation goes into effect at the start of your following billing

cycle.” However, the Checkout Page contains no explanation of how to cancel. For instance, the

Checkout Page does not mention that subscribers must contact Customer Care in order to cancel

their NYT Subscriptions, which they can do by calling a toll-free number during particular hours

or by utilizing the chat function on the NYT Website, as is set forth in the “Help” articles accessible




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from the “Account Management” page of the NYT Website.18 Yet, Defendant failed to place

consumers on notice of these aspects of Defendant’s cancellation policy in accordance with statute

because the ARS requires Defendant “Disclose clearly and conspicuously how to cancel the

contract in the initial contract, contract offer, or with delivery of products or services.” N.C.G.S.

§ 75-41(2). In other words, the required terms must appear on the Checkout Page, and be clear

conspicuous and explain how to cancel the contract. Defendant’s Checkout Page does not fulfill

either of those requirements.

         27.     Moreover, the disclosures hidden in links on the Account Management page also

fail to place consumers on notice of the cancellation policy as required by statute because

consumers may only access that portion of the NYT Website after completing the checkout process

and fulfilling the subscription agreement, and the ARS requires disclosure of such terms “in the

initial contract, contract offer, or with delivery of products or services.” N.C.G.S. § 75-41(2).

Additionally, Defendant does not specify anywhere on the Checkout Page that “[d]igital products

sold as part of a promotion[] … may have different cancellation or refund policies that will be

made clear at the time of purchase[,]” or that “[c]ertain promotions may not permit cancellation

during the promotional period[,]” as do terms set forth on other pages of Defendant’s website.19

Defendant therefore fails to present pertinent information regarding cancellation as required by

N.C.G.S. § 75-41(2).




18
  See https://help.nytimes.com/hc/en-us/articles/360003499613-Cancel-your-subscription
(“Cancel Your Subscription * There are several ways to unsubscribe from The Times. … *
Speak with a Customer Care Advocate * Call us at 866-273-3612 if you are in the U.S. Our
hours are 7 a.m. to 10 p.m. E.S.T. Monday to Friday, and 7 a.m. to 3 p.m. E.S.T. Saturday and
Sunday. … * Chat with a Customer Care Representative * When chat is available, click the
‘Chat’ button to the right or bottom of this page.”).
19
     See https://help.nytimes.com/hc/en-us/articles/115014893968-Terms-of-sale#canceldigi.

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                iii.   Defendant does not give notice the to consumer by
                       personal deliver, electronic mail, or first-class mail, at
                       least 15 days but no earlier than 45 days before the date
                       the contract is to be automatically renewed.

       28.     After the consumer subscribes to Defendant’s autorenewal subscription, after a

Plaintiff receives a confirmation email that confirms their subscription, Defendant never gives any

notice a subscription is to be automatically renewed. Per N.C.G.S. § 75-41(4), for any automatic

renewal exceeding 60 days, provide written notice to the consumer by personal delivery, electronic

mail, or first-class mail, at least 15 days but no earlier than 45 days before the date the contract is

to be automatically renewed, stating the date on which the contract is scheduled to automatically

renew and notifying the consumer that the contract will automatically renew unless it is cancelled

by the consumer prior to that date.

       29.     Defendant provides no notice, whether it be by personal delivery, electronic mail,

or first-class mail, for any automatic renewal exceeding 60 days.

       30.     The failure to give the required notice for any auto renewal exceeding 60 days is in

clear violation of N.C.G.S. § 75-41(4).

                 iv.   Defendant does not clearly and conspicuously disclose
                       the terms of the contract that will change upon the
                       automatic renewal of the contract.

       31.     Furthermore, although the Checkout Page states the initial amount to be charged to

the consumer’s Payment Method for the first renewal period of the consumer’s NYT Subscription

(e.g., the amount to be charged on a single occasion for the first month of a monthly subscription,

or for the first year of a yearly subscription), it does not contain a clear and conspicuous statement

that is required by statute, that must state “[i]f the terms of the contract will change upon the

automatic renewal of the contract, disclose the changing terms of the contract clearly and

conspicuously on the notification in at least 12 point type and in bold print.” N.C.G.S. § 75-41(4).


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       32.     Superficially, the language that the amount for Plaintiff and Class Members will

change is not in 12 point bold font that is clear and conscious to Plaintiff and consumer. One must

zoom in to be able to see the language that is present with the disclaimer. The disclaimer is not in

the required 12 point bold font for the consumer.




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       33.     By and through these actions, Defendant has charged Plaintiff’s and Class

members’ Payment Methods in direct violation of the ARS. As a result, Defendant must provide

a full refund or credit for all of the payments by Plaintiff and Class members. See N.C.G.S. § 75-

41(C)(3) “[w]here an error has caused the failure to comply with this section, the person provides

a full refund or credit for all amounts billed to or paid by the consumer from the date of the renewal

until the date of the termination of the contract, or the date of the subsequent notice of renewal,

whichever occurs first.”.

       E.      Plaintiff’s Facts

       34.     Plaintiff Megan Perkins is an individual consumer who purchased a monthly digital

NYT Subscription from Defendant’s website while in North Carolina on or around February 28,

2020. Ms. Perkins signed up for her NYT Subscription at the promotional or discounted rate of

$4.00 a month. At the time of enrollment, Ms. Perkins provided her PayPal account information

directly to Defendant.

       35.     Before Ms. Perkins purchased her NYT Subscription, Defendant did not disclose

to Ms. Perkins all required automatic renewal offer terms associated with the subscription program.

Additionally, although the Checkout Page from which Ms. Perkins made her purchase included

some relevant information regarding automatic renewal, the manner in which this information was

presented was insufficient to put Ms. Perkins on notice. Specifically, prior to completing her initial

NYT Subscription order, the relevant screens and buttons presented to Ms. Perkins did not clearly

and conspicuously state that her NYT Subscription would automatically renew every month until

she cancelled, and they did not describe the full cancellation policy that applied to her purchase.

       36.     After Ms. Perkins completed her initial order, Defendant sent Ms. Perkins an

acknowledgment email that her NYT Subscription had been activated.                    However, that

acknowledgement email failed to provide Ms. Perkins with the complete automatic renewal terms

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that applied to Defendant’s offer, a description of Defendant’s full cancellation policy, or

information regarding how to cancel Ms. Perkins’s NYT Subscription in a manner capable of being

retained by her. Ms. Perkins did not receive any other acknowledgements that contain the required

information.

       37.     As a result of Defendant’s missing and otherwise deficient disclosures, when Ms.

Perkins selected and paid for her discounted NYT Subscription in or around February 28, 2020,

she was unaware that Defendant enrolled her in an “automatic renewal” program under which the

subscription would renew each month at varying rates unless Ms. Perkins chose to cancel.

       38.     Further, Ms. Perkins subscription started on February 28, 2020 for $4 dollars per

month. On February 24, 2021, her subscription amount doubled to $8 per month.

       39.     Prior to Ms. Perkins’ renewal on February 24, 2021, Defendant did not give notice

by personal delivery, electronic mail, or first-class mail, at least 15 days but no earlier than 45 days

before the date the contract is to be automatically renewed, stating the date on which the contract

is scheduled to automatically renew and notifying the consumer that the contract will automatically

renew unless it is cancelled by the consumer prior to that date.

       40.     Defendant nevertheless automatically renewed Ms. Perkins’s NYT Subscription

and charged Ms. Perkins’s Payment Method an additional twenty three times for a total of eleven

unauthorized charges amounting to $136 to Ms. Perkins’s PayPal account without her knowing

consent.

                                     CLASS ALLEGATIONS

       41.      Plaintiff brings this action pursuant to North Carolina Rule 23 on behalf of a class

of similarly situated individuals, defined as follows (the “Class”):

               All persons in North Carolina who, within the applicable statute of
               limitations period, up to and including the date of final judgment in

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               this action, incurred renewal fee(s) in connection with Defendant’s
               The New York Times subscription offerings.


       42.     Specifically excluded from the Class are Defendant and any entities in which

Defendant has a controlling interest, Defendant’s agents and employees, the judge to whom this

action is assigned, members of the judge’s staff, and the judge’s immediate family.

       43.     Plaintiff reserves the right to amend the definition of the Class if discovery or

further investigation reveals that the Class should be expanded or otherwise modified.

       44.     Numerosity: Members of the Class are so numerous that their individual joinder

herein is impracticable. On information and belief, the Class comprises at least tens of thousands

of consumers throughout North Carolina. The precise number of Class members and their

identities are unknown to Plaintiff at this time but may be determined through discovery. Class

members may be notified of the pendency of this action by mail and/or publication through the

distribution records of Defendant.

       45.     Commonality and Predominance: Common questions of law and fact exist as to

all Class members and predominate over questions affecting only individual Class members.

Common legal and factual questions include, but are not limited to: (a) whether Defendant’s

subscriptions constitute “automatic renewals” within the meaning of N.C.G.S. § 75-41; (b)

whether Defendant failed to provide the clear and conspicuous language required by N.C.G.S. §

75-41(1) and N.C.G.S. § 75-41(2); whether Defendant provided disclosed the changing terms of

the contract clearly and conspicuously on the notification in at least 12 point type and in bold print

as required by N.C.G.S. § 75-41(3); (d) whether Defendant’s conduct alleged herein constitutes

unfair and deceptive trade practices; (e) whether Defendant’s conduct alleged herein constitutes

unjust enrichment; (f) whether Plaintiff and the Class are entitled to damages and/or restitution;



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and (g) whether Defendant should be enjoined from further engaging in the misconduct alleged

herein.

          46.   Typicality: The claims of Plaintiff are typical of the claims of the Class in that

Plaintiff and the Class sustained damages as a result of Defendant’s uniform wrongful conduct,

based upon Defendant’s failure to comply with N.C.G.S. § 75-41 in connection with its offerings

of subscriptions to The New York Times.

          47.   Adequacy: Plaintiff will fairly and adequately protect Class Members’ interests.

Plaintiff has no interests antagonistic to Class Members’ interests, and Plaintiff has retained

counsel that have considerable experience and success in prosecuting complex class-actions and

consumer-protection cases.

          48.   Superiority: A class action is superior to the other available methods for the fair

and efficient adjudication of this controversy for, inter alia, the following reasons: prosecutions of

individual actions are economically impractical for members of the Class; the Class is readily

definable; prosecution as a class action avoids repetitious litigation and duplicative litigation costs,

serves judicial resources, and ensures uniformity of decisions; and prosecution as a class action

permits claims to be handled in an orderly and expeditious manner.

          49.   Defendant has acted or failed to act on grounds generally applicable to the Class,

thereby making appropriate final injunctive relief with respect to the Class as a whole.

          50.   Without a class action, Defendant will continue a course of action that will result

in further damages to Plaintiff and members of the Class and will likely retain the benefits of their

wrongdoing.

          51.   Based on the foregoing allegations, Plaintiff’s claims for relief include those set

forth below.



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                                FIRST CAUSE OF ACTION
                              VIOLATION OF N.C.G.S. § 75-41
                         (On Behalf of Plaintiff and All Class Members)

       52.     Plaintiff repeats and realleges each and every allegation contained in all the

foregoing paragraphs as if fully set forth herein.

       53.     Pursuant to N.C.G.S. § 75-41, any person engaged in commerce that sells, leases,

or offers to sell or lease, any products or services to a consumer pursuant to a contract, where the

contract automatically renews unless the consumer cancels the contract, shall do all of the

following: (1) Disclose the automatic renewal clause clearly and conspicuously in the contract or

contract offer; (2) Disclose clearly and conspicuously how to cancel the contract in the initial

contract, contract offer, or with delivery of products or services; (3) For any automatic renewal

exceeding 60 days, provide written notice to the consumer by personal delivery, electronic mail,

or first-class mail, at least 15 days but no earlier than 45 days before the date the contract is to be

automatically renewed, stating the date on which the contract is scheduled to automatically renew

and notifying the consumer that the contract will automatically renew unless it is cancelled by the

consumer prior to that date; and (4) If the terms of the contract will change upon the automatic

renewal of the contract, disclose the changing terms of the contract clearly and conspicuously on

the notification in at least 12 point type and in bold print. Here Defendant’s subscriptions to The

New York Times violates all requirements under N.C.G.S. § 75-41.

       54.     As described above, Plaintiff and Class members have received subscriptions of

The New York Times that violate all requirements under N.C.G.S. § 75-41.

       55.     Defendant is not afforded any of the protections of N.C.G.S. § 75-41(c) as, upon

information and belief, Defendant cannot demonstrate that it: (1) has established and implemented

written procedures to comply with N.C.G.S. § 75-41 and enforces compliance with the procedures;



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(2) any failure to comply with N.C.G.S. § 75-41 is the result of error; and (3) where an error has

caused the failure to comply with N.C.G.S. § 75-41, Defendant provides a full refund or credit for

all amounts billed to or paid by Plaintiff and Class members from the date of the renewal until the

date of the termination of the contract, or the date of the subsequent notice of renewal, whichever

occurs first.

        56.     Plaintiff and Class members have been harmed in the amounts that they otherwise

would not have paid.

        57.     Plaintiff and Class members would have cancelled their subscriptions had they

been provided notice of their subscriptions renewing.

                              SECOND CAUSE OF ACTION
                       UNFAIR AND DECEPTIVE TRADE PRACTICES
                        (On Behalf of Plaintiff and All Class Members)

        58.     Plaintiff repeats and realleges each and every allegation contained in all the

foregoing paragraphs as if fully set forth herein.

        59.     Defendant’s acts and omissions as set forth herein were in or affecting commerce.

        60.     As set forth herein, Defendant has violated the provisions of N.C.G.S. Chapter 75;

specifically, N.C.G.S. § 75-41.

        61.     N.C.G.S. § 75-16 provides: “If any person shall be injured or the business of any

person, firm or corporation shall be broken up, destroyed or injured by reason of any act or thing

done by any other person, firm or corporation in violation of the provisions of this Chapter, such

person, firm or corporation so injured shall have a right of action on account of such injury done,

and if damages are assessed in such case judgment shall be rendered in favor of the plaintiff and

against the defendant for treble the amount fixed by the verdict.”




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       62.     Defendant has committed an unfair and deceptive trade practice as defined by

N.C.G.S. § 75-16.

       63.     Plaintiff and Class members are entitled to an award of treble damages against

Defendant pursuant to N.C.G.S. § 75-16.

                               THIRD CAUSE OF ACTION
                                 UNJUST ENRICHMENT
              (On Behalf of Plaintiff and All Class Members in the Alternative)

       64.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       65.     Plaintiff, on behalf of himself and consumers nationwide, brings a common law

claim for unjust enrichment.

       66.     Defendant’s conduct violated, inter alia, state and federal law by automatically

renewal subscriptions without written notice.

       67.     Defendant’s unlawful conduct as described in this Complaint allowed Defendant to

knowingly realize substantial revenues from selling its Subscriptions at the expense of, and to the

detriment or impoverishment of, Plaintiff and Class Members, and to Defendant’s benefit and

enrichment. Defendant has thereby violated fundamental principles of justice, equity, and good

conscience.

       68.     Plaintiff and Class Members conferred significant financial benefits and paid

substantial compensation to Defendant for the Subscriptions, which they did not intend to renew.

       69.     Under common law principles of unjust enrichment, it is inequitable for Defendant

to retain the benefits conferred by Plaintiff’s and Class Members’ overpayments.

       70.     Accordingly, Plaintiff and Class Members seek disgorgement of all profits resulting

from such payments from which Plaintiff and Class Members may seek restitution.



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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and the Class, prays for judgment as

follows:

       A.      For an order certifying the Class and naming Plaintiff as a representative of the

               Class and Plaintiff’s attorneys as Class Counsel to represent the Class;

       B.      For an order declaring that Defendant’s conduct violates the statutes and common

               laws referenced herein;

       C.      For an order finding in favor of Plaintiff and the Class on all counts asserted herein;

       D.      For actual and/or compensatory in amounts to be determined by the Court and/or

               jury, and that any award of damages be trebled pursuant to N.C.G.S. § 75-16;

       E.      For prejudgment interest on all amounts awarded;

       F.      For an order of restitution and all other forms of equitable monetary relief;

       G.      For injunctive relief as pleaded or as the Court may deem proper; and

       H.      For an order awarding Plaintiff and the Class their reasonable attorneys’ fees,

               expenses, and costs of suit.

                                         JURY DEMAND
               Plaintiff demands a trial by jury on all causes of action and issues so triable.


       Dated: June 21, 2022                           BURSOR & FISHER, P.A.

                                                      /s/ Philip L. Fraietta

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